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                                                                          4 Los Angeles, California 90067-4003
                                                                            Telephone: 310-277-6910
                                                                          5 Facsimile: 310-201-0760

                                                                          6 Counsel to Bradley D. Sharp, Chapter 11 Trustee

                                                                          7
                                                                                                               UNITED STATES BANKRUPTCY COURT
                                                                          8
                                                                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                          9
                                                                                                                       LOS ANGELES DIVISION
                                                                         10
                                                                              In re                                                 Case No. 2:23-bk-10990-SK
                                                                         11
                                                                              LESLIE KLEIN,                                         Chapter 11
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                         12
                                                                                                 Debtor.                            DECLARATION OF RAMON SAINZ RE
                                                                         13                                                         SERVICE OF ORDER GRANTING
                                           LOS ANGELES, C ALIFO R NIA
                                              ATTOR NE YS A T LAW




                                                                                                                                    MOTION OF CHAPTER 11 TRUSTEE
                                                                         14                                                         AUTHORIZING THE EXAMINATION
                                                                         15                                                         OF TRANSAMERICA LIFE INSURANCE
                                                                                                                                    COMPANY PURSUANT TO FED. R.
                                                                         16                                                         BANKR. P. 2004; AND SUBPOENA FOR
                                                                                                                                    RULE 2004 EXAMINATION OF
                                                                         17                                                         TRANSAMERICA LIFE INSURANCE
                                                                                                                                    COMPANY
                                                                         18
                                                                                                                                    [Relates to Docket No. 580]
                                                                         19

                                                                         20

                                                                         21

                                                                         22            I, Ramon Sainz, declare and state as follows:
                                                                         23            1.        I am a legal secretary at the Law Firm of Pachulski Stang Ziehl & Jones LLP
                                                                         24 counsel for Bradley D. Sharp, the duly appointed Chapter 11 trustee (the “Trustee”) in the Chapter

                                                                         25 11 case of Leslie Klein (the “Debtor”), in the above-captioned case.

                                                                         26            2.        I am over the age of eighteen years old and have personal knowledge of the facts
                                                                         27 set forth herein, and if called as a witness would and could competently testify thereto.

                                                                         28


                                                                              LA:4894-0866-6014.1 78512.001
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                                                                           1            3.        On January 17, 2024, I caused to be served on Transamerica Life Insurance

                                                                           2 Company (“Transamerica Life”) and other parties in interest, the following documents (the “Order

                                                                           3 and Rule 2004 Subpoena”):

                                                                           4                      (a)          A copy of the Order Granting Motion of Chapter 11 Trustee Authorizing

                                                                           5 the Examination of Transamerica Life Pursuant to Fed. R. Bankr. P. 2004 [Docket No. 580]; and

                                                                           6                      (b)          A copy of the Subpoena for Rule 2004 Examination of Transamerica Life.

                                                                           7            4.        The Order and Rule 2004 Subpoena were served upon the parties listed on the

                                                                           8 attached Service List and were served by placing true copies thereof in envelopes and then by

                                                                           9 sealing the envelopes and depositing them with first-class postage thereon fully prepaid, in the

                                                                          10 United States Mail at Los Angeles, California and served upon one of the parties on the attached

                                                                          11 Service List via Federal Express Overnight service (see attached Proof of Service).
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                          12            I declare under penalty of perjury that, to the best of my knowledge, the foregoing is true

                                                                          13            and correct.
                                           L OS ANGELES, C ALIFO R NIA
                                               ATTOR NE YS AT LAW




                                                                          14            Executed this 17th day of January 2024, at Los Angeles, California.

                                                                          15

                                                                          16
                                                                                                                                           Ramon Sainz
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                          10100 Santa Monica Boulevard, Suite 1300, Los Angeles, CA 90067


A true and correct copy of the foregoing document entitled (specify): DECLARATION OF RAMON SAINZ RE SERVICE
OF ORDER GRANTING MOTION OF CHAPTER 11 TRUSTEE AUTHORIZING THE EXAMINATION OF
TRANSAMERICA LIFE INSURANCE COMPANY PURSUANT TO FED. R. BANKR. P. 2004; AND SUBPOENA FOR
RULE 2004 EXAMINATION OF TRANSAMERICA LIFE INSURANCE COMPANY will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01/17/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/17/2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/17/2024, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Via FedEx: Agent for Service of Process, Transamerica Premier Life Insurance Company, CT Corporation System, 330
N. Brand Blvd., Suite 700, Glendale, CA 91203

Via Email: Simon Aron on behalf of Kenneth Klein and Shoshana Shrifa Klein: saron@wrslawyers.com,
moster@wrslawyers.com; Leslie Klein: les.kleinlaw@gmail.com, leskleinlaw@gmail.com, kleinlaw@earthlink.net; Nathan
Talei, Esq.: ntalei@oclslaw.com


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 01/17/2024                     Ramon Sainz                                                     /s/ Ramon Sainz
 Date                           Printed Name                                                    Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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    SERVICE INFORMATION FOR CASE NO. 2:23-bk-19090-SK
    1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


       Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
       Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
       Ron Bender rb@lnbyg.com
       Michael Jay Berger michael.berger@bankruptcypower.com, yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
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       Mark M Sharf (TR) mark@sharflaw.com, C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
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       Alan G Tippie Alan.Tippie@gmlaw.com,
        atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gmlaw.com
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       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
       Paul P Young paul@cym.law, jaclyn@cym.law
       Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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2. SERVED BY UNITED STATES MAIL:


Peter C. Anderson, U.S. Trustee                                           Nathan Talei
Michael Jones, Assistant U.S. Trustee                                     Oldman, Sallus & Gold, L.L.P.
Office of the U.S. Trustee                                                16133 Ventura Blvd., PH-A
915 Wilshire Boulevard, Suite 1850                                        Encino, CA 91436
Los Angeles, CA 90017
Leslie Klein & Associates, Inc.                                           Leslie Klein
c/o Parker Milliken                                                       322 N. June Street
555 Flower Street                                                         Los Angeles, CA 90001
Los Angeles, CA 90071
Leslie Klein                                                              Jamie Chi, Chief Executive Officer
14245 Ventura Blvd., 3rd Fl.                                              Transamerica Life Insurance Company
Sherman Oaks, CA 91423                                                    6400 C. Street SW
                                                                          Cedar Rapids, IA 52499
Transamerica Premier Life Insurance Company
Attn: Emily Van Der Sloot
6400 C St. SW
Cedar Rapids, IA 52499




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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
